Case 1:20-cv-06529-GBD Document 11

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAMON JAQUEZ, individually and on behalf of +
others similarly situated, :
Plaintiffs, :

-against- :

CARROL BOYES CORPORATION, :
Defendant. |

Oo eee eee .

GEORGE B. DANIELS, United States District Judge:

   

Filed 11/09/90

20 Civ. 6529 (GBD)

This Court having been advised that the parties have reached agreement on all issues in

this matter, the Clerk of Court is hereby ORDERED to close the above-captioned action, without

prejudice to restoring the action to this Court’s docket if an application to restore is made within

sixty (60) days.

All conferences previously scheduled are adjourned sine die.

Dated: November 9, 2020
New York, New York

SO ORDERED.

ORG@E B. DANIELS
ited States District Judge

 

 

 
